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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 INTERDIGITAL TECHNOLOGY
                                               Case No. 1:19-cv-01590-JDW
 CORPORATION, et al.,

                                               CONSOLIDATED
              Plaintiffs,

       v.

 LENOVO HOLDING COMPANY, INC.,
 et al.,

              Defendants.


                                         ORDER

       AND NOW, this 29th day of September, 2022, upon consideration of the Parties’

 letter requesting an extension of the response and reply deadlines on Defendants’

 Motion to Strike (D.I. 235), it is ORDERED that Plaintiffs’ Response to Defendants’

 Motion to Strike shall be filed on or before October 3, 2022, and Defendants’ Reply in

 Support of Their Motion to Strike shall be filed on or before October 7, 2022.

                                                BY THE COURT:


                                                /s/ Joshua D. Wolson
                                                HON. JOSHUA D. WOLSON
